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                 EXHIBIT 3
Case 6:23-cv-00871-CEM-DCI Document 186-3 Filed 09/06/24 Page 2 of 3 PageID 3626

                     KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.
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DAVID B. KING [1941 – 2020]
BRUCE B. BLACKWELL [RETIRED]                                                                          TELEPHONE
                                                                                                (407) 422-2472
THOMAS A. ZEHNDER
FREDERICK S. WERMUTH                                                                                   FACSIMILE
                                                                                                (407) 648-0161
DUSTIN MAUSER-CLAASSEN                         August 3, 2024
KIMBERLY D. HEALY                                                                       FWERMUTH@KBZWLAW.COM

QUINN B. RITTER
MATTHEW M. SMALL


   SENT VIA EMAIL ONLY (to emead@mhw-law.com, cbeall@mhw-law.com,
   aandrade@mhw-law.com,)

   George R. Mead, II, Esq
   Charles F. Beall, Esq.
   R. Alex Andrade, Esq.
   Moore, Hill & Westmoreland, P.A.
   350 W. Cedar Street
   Maritime Place, Suite 100
   Pensacola, FL 32502

            Re: Dorworth v. Greenberg, et al., Case No. 23-cv-00871

   Dear Messrs. Mead, Beall and Andrade,

          This letter is notice to you of our challenge to the designation of text messages bates-
   stamped DORWORTH 002191 through 002420, as well as letters bates-stamped DORWORTH
   000909 through 000931, DORWORTH 001075 through 001102, DORWORTH 001126 through
   001130, and DORWORTH 001585 through 001587 as confidential. We also challenge your
   designation of the text chain bates-stamped DORWORTH 002190 as confidential in its entirety,
   as we believe it is sufficient to mark as confidential only the reference to A.B.’s name in the second
   message.

           Pursuant to paragraph 15 of the attached “Confidentiality Agreement Governing Lawsuit”
   agreed to in this case, you have ten days to file a motion seeking to continue the “confidential”
   protection of these documents. With the exception of A.B.’s name in DORWORTH 002190 we
   do not believe that any portions of these documents qualify for such designation. That said, if there
   are specific portions of the cited documents that you believe should remain confidential, we would
   be glad to consider those.
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Michael Andrade
August 3, 2024
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           In the meantime, and also pursuant to the Confidentiality Agreement, please let me know
    your availability to confer on the matter.

                                                      Sincerely,



                                                      Frederick S. Wermuth
    FSW/mh
    Enclosure
    cc:    all record counsel
